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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 16-349V
                                    Filed: December 29, 2016

* * * * * * * * * * * * * * *                                 UNPUBLISHED
CANDACE L. HOLMES,            *
                              *                               Special Master Hamtilon-Fieldman
          Petitioner,         *
                              *
 v.                           *                               Joint Stipulation of Dismissal;
                              *                               Vaccine Rule 21(a); No Judgment;
                              *                               Order Concluding Proceedings
                              *
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * *

Nancy R. Meyers, Ward Black Law, Greensboro, NC, for Petitioner.
Claudia Gangi, United States Department of Justice, Washington, DC, for Respondent.


                          ORDER CONCLUDING PROCEEDINGS1

        On March 17, 2016, Candace L. Holmes (“Petitioner”) filed a petition for compensation
under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (2012).
Petitioner alleged that the administration of a trivalent influenza (“flu”) vaccine on January 14,
2015 caused her to develop pseudotumor cerebri. Pet. at 1-2, ECF No. 1.

      On December 23, 2016, Petitioner and Respondent submitted a joint Stipulation of
Dismissal. Stip., ECF No. 23. Accordingly, pursuant to Vaccine Rule 21 (a) the above-captioned


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  Because this unpublished Order contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review,
the undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.



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case is hereby dismissed without prejudice. The Clerk of the Court is hereby instructed that a
judgment shall not enter in the instant case pursuant to Vaccine Rule 21(a).

       IT IS SO ORDERED.



                                                  /s/Lisa D. Hamilton-Fieldman
                                                  Lisa D. Hamilton-Fieldman
                                                  Special Master




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